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       Plaintiff(s)                                                                                         -.          j


V S.
Eric J.Brown

1033 Boca Cove Lane

Highland Beach.FL 33487
(FullNameofDefendant/s),

       Defendantts).



                                       STATUS UPDATE

       1,Eric J.Brown,Defendantpro se,inthism atter,respectfully subm itthefollowing
update to the PlaintifpsM otion forSumm ary Judgment.

SinceotzrlastadjournmentlhavebeeninconstantcommunicationwiththeSEC.lhavereached
outtothem onadailybasis.Ihavespoken withJohnGraubard,Esq.(attorneyfortheSEC)
alm ostevery day.Ialso provided them w ith anotherw ritten settlem entoutline thatIbelieve is
responsive to theirposition.Jolm Graubard,Esq.with the SEC believeshe can getm y offer
approved.

U nforttm ately,despite repeated phone ealls1he SEC hasnotgiven m e any indication on whether
thatproposalisacceptable orifthereareany open issues.Asoftoday he isstillwaiting to hear
back from the people w ho have the finaldecision.

Given thecircumstanceslrespectfully ask the Courtnottakeany action on thepending motion.
Case 9:13-cv-80400-KAM Document 16 Entered on FLSD Docket 10/11/2013 Page 2 of 3




 Oct.10e2013                                    Respectfully subm itted,
 Dated:M onth,day,year
                                                ERIC BROW N
                                                N am e ofFiler

                                                1033 BO CA COV E LAN E
                                                StreetAddress

                                                HIGHLAND BEACH.FL 33487
                                                City,State,Zip Code

                                                Telephone:    561-414-3853
                                                             fu.           '
                                                D efendant


                                  C ertificate of Service

       Ihereby certify thatatrueand correctcopy oftheforegoing wasserved by

 MRJC BROW N byfax.çmaslandmailedonOc$10s2013
 on allcounselorpartiesofrecord on theServiceListbelow .


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                                       SERVICE LIST

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Pady orA ttorney N am e                        Party orAttorney N am e

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Attorney E-m ailAddress(fapplicable)           E-m ailAddress(fapplicable)

SECURITIES & EXCHANGE COM M ISSION
Finn Name (fapplicable)                        Firm Name (fapplicable)

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 JOHN GM UBARD
 AttorneysforPlaintiff                         Defendant
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  part
     y%Namelsl.l(fapplicable)                  Jrlrl 'sNamelsl)(fapplicable)
